Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21   Page 1 of 38 PageID 13




                EXHIBIT 1




                                                          Exhibit 1
            Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                     Page 2 of 38 PageID 14

Mike Stumbaugh

From:                  Spencer Browne <Spencer@reyeslaw.com>
Sent:                  Monday, May 3, 2021 9:21 AM
To:                    Amber Henderson; Mike Stumbaugh; Kyle Briscoe
Cc:                    Hussain Ismail; Christian Barragan
Subject:               Slaine v. Kroger, et al.


Hi Amanda, Michael, and Kyle,

I reviewed your discovery answers and this file and I am going to amend our petition to reflect the evidence to this
point. First, I was going to nonsuit every entity that is not Kroger Texas, L.P. Everything discovered thus far indicates
that Kroger was responsible for the parking block in question and not any other entity in the shopping center. Next, I
think your verified denial, you stated that Kroger Texas, LP should be Kroger Texas, L.P. I don’t think there is a
difference, but do you want us to amend as Kroger Texas, L.P. and (along with the other dismissals) does that cure any
arguments you may have against having the improper parties to the suit?

Also, I think your discovery answers indicate that Kroger will produce documents subject to a confidentiality order. Can
you please provide that proposed order to us, so we can continue the exchange of documents?

In your answer to RFP 51 (and Rog 3), we are looking at employees who were working in the few days before and after
to discovery their knowledge of the parking block on the day of the incident. Can you please provide those names to
us?

On RFP 53 and Rog 5, what date range do you believe is reasonable for discovery?

Finally, the maintenance logs produced labeled as DS0008, only indicate a call on May 6, 2019. Are there more call
notes that are cut off in document? It looks like the call notes have more, but only a certain amount of characters print
in the document. None of the notes reference the parking block at issue. If I’m understanding the production and
interrogatory answers correctly, no corrective actions have been taken to that parking block and it remains in the same
condition today as it did two years ago. If so, can we set up an inspection?

Let me know if we need to discuss anything over the phone.

I hope all is well with you all!

Spencer P. Browne
Reyes | Browne | Reilley
8222 Douglas Ave., Suite 400
Dallas, TX 75225
(214) 526-7900
(214) 526-7910 (fax)
Spencer@reyeslaw.com
Board Certified - Personal Injury Trial Law
Texas Board of Legal Specialization




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Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21   Page 3 of 38 PageID 15




                EXHIBIT 2




                                                          Exhibit 2
5/5/2021                                                                  Details
                Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                    Page 4 of 38 PageID 16




           Case Information

           CC-20-05664-D | DAIZY CARTER SLAINE vs. KROGER TEXAS LP, KROGER TEXAS LP D/B/A KROGER # 527,
           KROGER TEXAS LP D/B/A HENPIL #527.et al

           Case Number                            Court                               Judicial Officer
           CC-20-05664-D                          County Court at Law No. 4           ROSALES, PAULA
           File Date                              Case Type                           Case Status
           12/31/2020                             DAMAGES (COLLISION)                 OPEN




           Party

           PLAINTIFF                                                                  Active Attorneys 
           SLAINE, DAIZY CARTER                                                       Lead Attorney
                                                                                      BROWNE, SPENCER P
                                                                                      Retained




           DEFENDANT                                                                  Active Attorneys 
           KROGER TEXAS LP                                                            Lead Attorney
           Address                                                                    BRISCOE, B KYLE
           SERVE ITS REGISTERED AGENT: CORPORATION SERVICE COMPANY                    Retained
           D/B/A
           211 E. 7TH STREET, SUITE 620
           AUSTIN TX 78701




           DEFENDANT                                                                  Active Attorneys 
           KROGER TEXAS LP D/B/A KROGER # 527                                         Lead Attorney
                                                                                      BRISCOE, B KYLE
           Address
                                                                                      Retained
           SERVE ITS REGISTERED AGENT: CORPORATION SERVICE COMPANY
           D/B/A
           211 E. 7TH STREET, SUITE 620
           AUSTIN TX 78701




           DEFENDANT                                                                  Active Attorneys 
           KROGER TEXAS LP D/B/A HENPIL #527                                          Lead Attorney
           Address                                                                    BRISCOE, B KYLE

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      1/7
5/5/2021                                                                  Details
           SERVECase   3:21-cv-01063-N
                 ITS REGISTERED          Document SERVICE
                                AGENT: CORPORATION 1-2 Filed 05/11/21
                                                          COMPANY                   Page  5 of 38 PageID 17
                                                                                      Retained
           D/B/A
           211 E. 7TH STREET, SUITE 620
           AUSTIN TX 78701




           DEFENDANT                                                                  Active Attorneys 
           HENPIL, INC.                                                               Lead Attorney
           Address                                                                    BRISCOE, B KYLE
                                                                                      Retained
           SERVE ITS REGISTERED AGENT: CORPORATION SERVICE COMPANY
           D/B/A
           211 E. 7TH STREET, SUITE 620
           AUSTIN TX 78701




           DEFENDANT                                                                  Active Attorneys 
           FAMILY DOLLAR STORES OF TEXAS, LLC                                         Lead Attorney
                                                                                      BANA, MAVISH S.
           Address
                                                                                      Retained
           SERVE ITS REGISTERED AGENT: CORPORATION SERVICE COMPANY
           D/B/A
           211 E. 7TH STREET, SUITE 620
           AUSTIN TX 78701




           DEFENDANT
           FIRST NATIONAL BANK INC.

           Address
           SERVE ITS REGISTERED AGENT: SAUL ORTEGA
           213 S.CLOSNER, 2ND FLOOR
           EDINBURG TX 78539




           Events and Hearings


             12/31/2020 NEW CASE FILED (OCA)


             12/31/2020 ORIGINAL PETITION 


             PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE WITH INCORPORATED FIRST SET OF

                Comment
                PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE WITH INCORPORATED FIRST SET
                OF WRITTEN DISCOVERY


             12/31/2020 ISSUE CITATION 


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                       2/7
5/5/2021                                                                  Details
              Case2012
           CITATION 3:21-cv-01063-N Document 1-2 Filed 05/11/21                     Page 6 of 38 PageID 18
           CITATION 2012

           CITATION 2012

           CITATION 2012

           CITATION 2012

           CITATION 2012

             Comment
             ESERVE# 49499799


           12/31/2020 JURY TRIAL DEMAND


           01/07/2021 CITATION (SERVICE) 


           Served
           01/11/2021

           Anticipated Server
           ATTORNEY

           Anticipated Method
           Actual Server
           PRIVATE PROCESS SERVER

           Returned
           01/19/2021
           Comment
           KROGER TEXAS, LP


           01/07/2021 CITATION (SERVICE) 


           Served
           01/11/2021

           Anticipated Server
           ATTORNEY

           Anticipated Method
           Actual Server
           PRIVATE PROCESS SERVER

           Returned
           01/19/2021
           Comment
           KROGER TEXAS, LP D/B/A KROGER #527


           01/07/2021 CITATION (SERVICE) 


           Served
           01/11/2021

           Anticipated Server
           ATTORNEY

           Anticipated Method


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      3/7
5/5/2021                                                                  Details
               Case
           Actual     3:21-cv-01063-N Document 1-2 Filed 05/11/21
                  Server                                                            Page 7 of 38 PageID 19
           PRIVATE PROCESS SERVER

           Returned
           01/19/2021
           Comment
           HENPIL, INC


           01/07/2021 CITATION (SERVICE) 


           Served
           01/11/2021

           Anticipated Server
           ATTORNEY

           Anticipated Method
           Actual Server
           PRIVATE PROCESS SERVER

           Returned
           01/19/2021
           Comment
           FAMILY DOLLAR STORES 0F TEXAS, LLC


           01/07/2021 CITATION (SERVICE) 


           Unserved

           Anticipated Server
           ATTORNEY

           Anticipated Method
           Comment
           FIRST NATIONAL BANK, INC.


           01/19/2021 RETURN OF SERVICE 


           KROGER TEXAS LP

             Comment
             KROGER TEXAS LP


           01/19/2021 RETURN OF SERVICE 


           KROGER TEXAS LP D/B/A KROGER #527

             Comment
             KROGER TEXAS LP D/B/A KROGER #527


           01/19/2021 RETURN OF SERVICE 


           KROGER TEXAS LP

             Comment
             KROGER TEXAS LP



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      4/7
5/5/2021                                                                  Details
              Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                      Page 8 of 38 PageID 20
           01/19/2021 RETURN OF SERVICE 


           HENPIL, INC

             Comment
             HENPIL, INC


           01/19/2021 RETURN OF SERVICE 


           FAMILY DOLLAR STORES OF TEXAS, LLC

             Comment
             FAMILY DOLLAR STORES OF TEXAS, LLC


           01/20/2021 CORRESPONDENCE - LETTER TO FILE 


           LETTER TO PLAINTIFF'S COUNSEL

             Comment
             LETTER TO PLAINTIFF'S COUNSEL


           01/20/2021 AMENDED ANSWER - AMENDED GENERAL DENIAL 


           DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER TO PLAINTIFF S

             Comment
             DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER TO PLAINTIFF S ORIGINAL
             PETITION, DEMAND FOR JURY TRIAL AND REQUESTS FOR DISCLOSURE


           01/20/2021 JURY TRIAL DEMAND


           01/20/2021 NOTICE OF FILING 


           PLAINTIFF'S NOTICE OF FILING OF AFFIDAVITS (FAMILY DOLLAR STORES OF TEXAS, LLC)

             Comment
             PLAINTIFF'S NOTICE OF FILING OF AFFIDAVITS (FAMILY DOLLAR STORES OF TEXAS, LLC)


           01/27/2021 ORIGINAL ANSWER - GENERAL DENIAL 


           D'S ORIGINAL ANSWER

             Comment
             KROGER'S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS


           01/27/2021 NOTICE OF FILING 


           PLAINTIFF'S NOTICE OF FILING OF AFFIDAVITS (KROGER TEXAS, LP)

             Comment
             PLAINTIFF'S NOTICE OF FILING OF AFFIDAVITS (KROGER TEXAS, LP)


           03/04/2021 VACATION LETTER 



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      5/7
5/5/2021                                                                  Details
                Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21
               Comment                                                                  Page 9 of 38 PageID 21
               VACATION LETTER




           Financial

           FAMILY DOLLAR STORES OF TEXAS, LLC
                Total Financial Assessment                                                                       $40.00
                Total Payments and Credits                                                                       $40.00


            1/20/2021    Transaction Assessment                                                                 $40.00

            1/20/2021    CREDIT CARD - TEXFILE          Receipt # CV-2021-          FAMILY DOLLAR STORES OF    ($40.00)
                         (CC)                           00553                       TEXAS, LLC
           SLAINE, DAIZY CARTER
                Total Financial Assessment                                                                      $341.00
                Total Payments and Credits                                                                      $341.00


            12/31/2020     Transaction Assessment                                                              $341.00

            12/31/2020     CREDIT CARD - TEXFILE           Receipt # CV-2020-           SLAINE, DAIZY         ($341.00)
                           (CC)                            14002                        CARTER




           Documents


             PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE WITH INCORPORATED FIRST SET OF
             3 CCL#4 Y LETTER

             CITATION 2012
             CITATION 2012
             CITATION 2012
             CITATION 2012

             CITATION 2012
             CITATION 2012
             KROGER TEXAS LP
             KROGER TEXAS LP D/B/A KROGER #527

             KROGER TEXAS LP
             HENPIL, INC
             FAMILY DOLLAR STORES OF TEXAS, LLC

             LETTER TO PLAINTIFF'S COUNSEL
             DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER TO PLAINTIFF S

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                                   6/7
5/5/2021                                                                  Details
              Case 3:21-cv-01063-N
            PLAINTIFF'S                   Document
                        NOTICE OF FILING OF AFFIDAVITS1-2  Filed
                                                       (FAMILY   05/11/21
                                                               DOLLAR STORESPage  10 ofLLC)
                                                                             OF TEXAS,   38 PageID 22
            D'S ORIGINAL ANSWER
                                                                                                        I
           _________________________________________
            PLAINTIFF'S NOTICE OF FILING OF AFFIDAVITS (KROGER TEXAS, LP)
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Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21   Page 11 of 38 PageID 23




                EXHIBIT 3




                                                          Exhibit 3
                                                                                                                      FILED
Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                                 Page 12 of 38 PageID 24 12/31/2020 4:07PM
                                                                                                             JOHN F. WARREN
                                                                                                              -COUNTY CLERK
                                                                                                              DALL~S COUNTY




                                                     - - - - CC-20-05664-D
                                                  · CAUSE NO. _ _ __

DAIZY CARTER SLAINE                                                    §   IN THE COUNTY COURT
                                                                       s
                                                                       ~
                                                                       s
                                                                       ~
YS.                                                                    §   AT LAW NO. _ _
                                                                       §
KROGER TEXAS, LP; KROGER TEXAS,                                        §
LP D/B/A KROGER #527; KROGER                                           §
TEXAS LP D/B/A HENPIL #527;                                            §
HENPIL, INC.; FAMILY DOLLAR                                            §
STORES OF TEXAS, LLC; AND FIRST                                        §
NATIONAL BANK, INC.                                                    §   DALLAS COUNTY. TEXAS

             PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR
     DISCLOSURE WITH INCORPORATED FIRST SET OF WRITTEN DISCOVERY

           Plaintiff Daizy Catier Slaine ("Plaintiff') files this Original Petition and Request for

Disclosure complaining of Defendants Kroger Texas, LP; Kroger Texas, LP d/b/a: Kroger #527;

Kroger Texas LP d/b/a Henpil #527; Henpil, Inc.; Family Dollar Stores of Texas, LLC; and First

National Bank, Inc. ("Defendants") and for cause of action states the following:

                                            DISCOVERY CONTROL PLAN

I.        Pursuant to Rules 190.1 and 190.3 of the Texas Rules of Civil Procedure, Plaintiff states

          that discovery in this cause is intended to be conducted under Level 3.

                                                 DISCLOSURE REQUEST

2.         Request is hereby formally made for Defendants to comply with Rule 194 of the Texas

           Rules of Procedure. Specifically, formal request is made for Defendants to provide to

           Plaintiff, pursuant Rules I 94.2 and 194.3 of the Texas Rules of Civil Procedure, the

          following:

RULE 194.2(a)--                 the correct names of the parties to the lawsuit;

RULE 194.2(b)--                 the name, address and telephone number of any potential patiies;

Plaintiffs Original Petition and Requl•st for Disclosure. Page 1 of9
        Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                               Page 13 of 38 PageID 25



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        RULE 194.2(c)--                 the legal theories and, in general, the factual bases of the responding

                                        pmiy's claims or defenses (the responding party need not marshal all

                                        evidence that may be offered at trial);

        RULE 194.2(d)--                 the amount and any method of calculating economic damages;

        RULE 194.2(e)--                 the name, address, and telephone number of persons having knowledge of

                                        relevant facts, and a brief statement of each identified person's connection

                                        with the case;

        RULE 194.2<!)--                 for any testifying expert:

                                        (1)        the expeti's name, address, and telephone number;
                                        (2)        the subject matter on which the expert will testify;
                                        (3)        the general substance of the expert's mental impressions and
                                                   opinions and a brief summary of the basis for them, or if the expert
                                                   is not retained by, employed by, or otherwise subject to the cot1trol
                                                   of the responding party, documents reflecting such information;
                                        (4)        If the expeti is retained by, employed by or othetwise subject to
                                                   the control ofthe responding patiy:
                                                   (A)     all documents, tangible things, reports, models, or data
                                                           compilations that have been provided to, reviewed by or
                                                           prepared by or for the expeti in anticipation of the expert's
                                                           testimony; and
                                                   (B)     the expeti's current resume and bibliography;

        RULE 194.2(g)--                  any indemnity and insuring agreements described in Rule 192.3(f):

        RULE 194.2(h)--                  any settlement agreements described in Rule 192.3(g);

        RULE 194.2(i)--                  any witness statements described in Rule 192.3(h);

        RULE 194.2(j)--                  in a suit alleging physical or mental injury and damages from the

                                         occurrence that is the subject of the case, all medical records and bills that

                                         are reasonably related to the injuries or damages asserted or, in lieu

                                         thereof, an authorization permitting the disclosure of such medical records

        Plaintifrs Orh.:inal Petition and Request for Disclosm·c -l'age 2 of9
        Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                             Page 14 of 38 PageID 26




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                                       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - -



                                          and bills.

        RULE 194.2(k)--                   in a suit alleging physical or mental injury and damages from the

                                          occurrence that is the subject of the case, all medical records and bills

                                          obtained by the responding pmiy by virtue of an authorization furnished

                                         by the requesting party.

        RULE 194.2 (1}--                  the name, address, and telephone number of any person who may be

                                          designated as a responsible third party.

                                                                   JURY DEMAND

        3.         Pursuant to Rules 216 and 217 of the Texas Rules ofCivil Procedure, Plaintiffrcquests a

                  jmy trial of this matter. Accordingly, Plaintiff tenders the proper jury fee with the filing

                   of Plaintiffs Original Petition.

                                                                         PARTIES

        4.         Plaintiff Daizy Carter Slaine is an individual residing in Dallas County, Texas. The last

                   three digits of her driver's license are 318 and the last three digits of her social security

                   number are 603.

        5.         Defendant Kroger Texas, LP is a corporation that may be served through its registered

                   agent Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company

                   at 211 E. 7th Street, Suite 620, Austin, Texas 7870 I.

        6.         Kroger Texas, LP d/b/a Kroger #527 is a corporation that may be served through its

                   registered agent Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

                   Company at 21 1 E. 7th Street, Suite 620, Austin, Texas 78701.

        7.         Kroger Texas LP d/b/a Henpil #527 is a corporation that may be served through its


        Plain lift's Original Petition and Rcqm·s! foo· Disclosure. Pag<• 3 of9
       Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                              Page 15 of 38 PageID 27




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                  registered agent Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

                  Company at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

       8.         Henpil, Inc. is a corporation that may be served through its registered agent Corporation

                  Service Company d/b/a CSC-Lawyers Incorporating Service Company at 211 E. 7th

                  Street, Suite 620, Austin, Texas 78701.

       9.         Family Dollar Stores of Texas, LLC is a corporation that may be served through its

                  registered agent Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

                  Company at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

        10.       First National Bank, Inc. is a corporation that may be served through its registered Agent

                  Saul Otiega, 213 S. Closner, 2nd Floor, Edinburg, Texas 78539.


                                                              ASSUMED NAMES


        11.       Pursuant to Texas Rule of Civil Procedure 28, Plaintiff hereby gives all Defendants

                  notice that they are being sued in all of its business, common, trade, or assumed names

                  regardless of whether such businesses are partnerships, unincorporated associations,

                  individuals, entities, and/or private corporations. Plaintiff hereby demands that upon

                  answering this suit, Defendants answer in its correct legal name(s) and assumed name(s).


                                                     VENUE AND JURISDICTION

        12.       Venue is proper in this Court by virtue of Tex. Civ. Prac. & Rem. Code § 15.002(a).

                  Futihermore, this Conti has jurisdiction in that the damages being sought are within the

                  jurisdictional limits ofthis Comi.

                                                                             FACTS


        Plnintift's Originnl Petition nnd Request for Disclosun•- P"g"   ~   ol"9
        Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                                Page 16 of 38 PageID 28




- - - - - - --- -----------------



         13.       This lawsuit is based on an incident which occmTed on or about May 1, 2019 in the

                   parking lot of the 200 block of W. Camp Wisdom Road (hereinafter referred to as the

                   "Premises").          Plaintiff (who was 76 at time of the incident) parked her vehicle at the

                   parking lot of 200 block of W. Camp Wisdom Road in Dallas, Texas, then proceeded to

                   go shopping at Kroger.                  After Plaintiff was done shopping, Plaintiff began walking

                   towards her vehicle pushing a shopping cmt. During her walk back to her car, Plaintiff

                   was tripped and fell. While on the ground in terrible pain, Plaintiff looked back to see

                   that she had tipped and fell due to a steel rebar wire protruding from a parking stop.

         14.       At the time of the incident, Plaintiff was lawfully on the Premises as an invitee of

                   Defendants. Defendants were the owner and/or possessor of the Premises. Defendants

                   owed Plaintiff a duty to protect her from the condition made the basis of this lawsuit.

                   The incident was proximately caused by the existence of a condition on the premises that

                   was unreasonably dangerous and constituted an unreasonable risk of harm. Defendants

                   knew or should have known of the danger such condition posed.

                                                             CAUSES OF ACTION

                                      Negligence (Negligent Activity) and Premises Liability

         15.       The paragraphs above are by this reference incorporated herein as if fully set fotth at

                   length.

         16.        Defendants created an ongoing negligent activity by not replacing the defective parking

                   stop on the Premises. Defendants knew or should have known about this unreasonable

                   risk of harm. Defendants created and/or failed to timely and appropriately remedy the

                    hazard which caused Plaintiff's fall and injuries.


         Plaintiff's Original Petition and Request for Disclosure- Page 5 of9
Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                                          Page 17 of 38 PageID 29



                                               - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - -



17.        On the occasion in question and with regard to the incident, Defendants were acting

           through their agents, servants, and/or employees who were at all times acting within the

           course and scope of their employment.                            Defendants committed acts and/or omissions,

           including, but not limited to the following, which constituted negligence which

           proximately caused the Incident in question:

                       a.         In failing to maintain the premises in question in a reasonably safe
                                  condition and free of hazards to Plaintiff and other invitees entering the
                                  premises;
                       b.         In failing to correct the unreasonably dangerous condition which was
                                  created by the condition of the Premises in question;
                       c.         In failing to warn invitees, including Plaintiff, of the hazardous and
                                  dangerous condition of the premises in question;
                       d.         In failing to properly inspect the Premises in question to discover the
                                  unreasonably dangerous condition created by the hazardous condition in
                                  question;
                       e.         In failing to protect invitees from the rebar sticking out of the parking
                                  block; and/or
                       f.         In failing to remove and replace the parking block from the area where the
                                  incident occurred.

18.        Defendants failed to use ordinary care and failed to act reasonably and prudently at the

           time of the incident made the basis of this lawsuit.                          Each of the foregoing acts or

           omissions, singularly or in combination with others, constituted negligence, which

           proximately caused the above-referenced incident and Plaintiff's injuries and damages.

           Plaintift~       thus, sues for all her actual damages in excess of the minimum jurisdictional

           limits ofthis CoUit.

                                        PERSONAL INJURIES AND DAMAGES

19.        As a result of Defendants' negligent actions, Daizy Carter Slaine suffered personal

           injuries. Consequently, Daizy Cmter Slaine seeks recovery ofthe following damages:



Plain tift's Ol'iginal Petition and Reg nest fol' Disclosul'c- Page 6 or9
             Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                               Page 18 of 38 PageID 30



                                                                                    - - - - - - - - - - - - - - - -- - - - - - - - - - - - - -
- - - - - - - - - - -- - - - - - - - -


                       a.         Medical Expenses: Daizy Carter Slaine incurred bodily injuries which were
                                  caused by The Collision and Daizy Catter Slaine incurred medical expenses for
                                  treatment of such injuries. Daizy Catter Slaine believes that, in reasonable
                                  medical probability such injuries will require the need for future medical care.

                       b.         Physical Pain: Daizy Cuter Slaine endured physical pain as a result of the
                                  personal injuries sustained in The Collision and reasonably anticipates such pain
                                  will continue in the future.

                       c.         Mental Anguish: Daizy Carter Slaine endured mental anguish as a result of the
                                  personal injuries sustained in The Collision and reasonably anticipates such
                                  mental anguish will continue in the future.

                       d.         Disfigurement: Daizy Catter Slaine endured disfigurement as a result of the
                                  personal injuries sustained in The Collision and reasonably anticipates such will
                                  continue in the future.

                       e.         Impairment: Daizy Catier Slaine endured physical impairment as a result of the
                                  personal injuries sustained in The Collision and reasonably anticipates such in the
                                  future.

                       f.         Loss of Earning Capacity: Daizy Carter Slaine lost wages as a result of the
                                  personal injuries sustained in The Collision. Daizy Carter Slaine reasonably
                                  believes that such injuries will diminish Daizy Catter Slaine's earning capacity in
                                  the future.

                                                                     AGGRAVATION

             20.       In the alternative, if it be shown that the Plaintiff suffered from any pre-existing injury,

                       disease and/or condition at the time of the incident made the basis of the lawsuit, then

                       such injury, disease and/or condition was aggravated and/or exacerbated by the

                       negligence of the Defendants.

                                                                    U.S. LIFE TABLES

             21.       Notice is hereby given to the Defendants that Plaintiff intends to use the U. S. Life Tables

                       as published by the Depmtment of Health and Human Services- National Vital Statistics

                       Report in the trial of this matter. Plaintiff requests that this Honorable Comt take judicial


             Plaintifrs Original Petition and Rcqm•sf fo1· Disclosure- Page 7 of9
Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                        Page 19 of 38 PageID 31




          notice of those mles, regulations, and statutes of the United States and the State of Texas,

          pm~suant to Texas Rule of Evidence 201 and 1005.

                                                        RELIEF SOUGHT

22.       Pursuant to Texas Rules of Civil Procedure 193.7, notice is hereby given of the intention

          to use any of the documents exchanged and/or produced between any party during the

          trial of this case. All conditions precedent to Plaintiffs right to recover the relief sought

          herein have occurred or have been performed.

23.       As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff states that the

          damages sought are in an amount within the jurisdictional limits of this Court.           As

          required by Rule 47(c), Texas Rules of Civil Procedure, Plaintiff states that Plaintiff

          seeks monetary relief in excess of $200,000, but less than $1,000,000.         As discovery

          takes place and testimony is given, Plaintiff will be in a better position to give the

          maximum amount of damages sought.

24.        Plaintiff requests that Defendants be cited to appear and answer, and that this case be

          tried after which Plaintiff recover:

           a.         Judgment against Defendants for a sum within the jurisdictional limits of this
                      Court for the damages set forth herein;
           b.         Pre-judgment interest at the maximum amount allowed by law;
           c.         Post-judgment interest at the maximum rate allowed by law;
           d.         Costs of suit; and
           e.         Such other and further relief to which Plaintiff may be justly entitled.




Plaintiff's Original Petition and Rcgut•st for Disclosure- Page 8 of9
   Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                                       Page 20 of 38 PageID 32




--------------------



                                                                              Respectfully submitted,

                                                                              REYES I BROWNE I REILLEY



                                                                              Is/ Spencer P. Browne
                                                                              Spencer P. Browne
                                                                              State Bar No. 24040589
                                                                              Hussain Ismail
                                                                              State Bar No. 24087782
                                                                              8222 Douglas Avenue, Suite 400
                                                                              Dallas, TX 75225
                                                                              (214) 526-7900
                                                                              (214) 526-7910 (FAX)
                                                                              spencer@reyeslaw.com
                                                                              hussai n@reyeslaw .com

                                                                              ATTORNEYS FOR PLAINTIFF




   Plaintiff's Ol'iginal Pdition and Request fol' Disclosul'l'- Page. 9 of9
Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21   Page 21 of 38 PageID 33




                EXHIBIT 4




                                                         Exhibit 4
                                                                                                                    FILED
                                                                                                       1/20/2021 10:31 AM
                                                                                                        JOHN F. WARREN
     Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                        Page 22 of 38 PageID 34      COUNTY CLERK
                                                                                                         DALLAS COUNTY




                                           NO. CC-20-05664-D

DAIZY CARTER SLAINE,                                      §            IN THE COUNTY COURT
                                                          §
        Plaintiff,                                        §
v.                                                        §
                                                          §
KROGER TEXAS, LP,                                         §
KROGER TEXAS, LP d/b/a                                    §            AT LAW NO.4
KROGER #527, KROGER TEXAS LP                              §
d/b/a HENPIL #527, HENPIL, INC.,                          §
FAMILY DOLLAR STORES OF                                   §
TEXAS, LLC and FIRST NATIONAL                             §
BANK, INC.,                                               §
                                                          §
        Defendants.                                       §            DALLAS COUNTY, TEXAS



            DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S
           ORIGINAL ANSWER TO PLAINTIFF'S ORIGINAL PETITION,
          DEMAND FOR JURY TRIAL AND REQUESTS FOR DISCLOSURE


         FAMILY DOLLAR STORES OF TEXAS, LLC (one of the Defendants herein and

 hereinafter referred to as "Defendant") files its Original Answer to Plaintiffs Original

 Petition with Demand for a Jury Trial and Requests for Disclosure as follows:

                                                         I.
                                          GENERAL DENIAL

         1.       Defendant denies each and every, all and singular, the material

 allegations contained within Plaintiff's pleadings and demands strict proof thereof.

                                                   II.
                                             JURY DEMAND

         2.       In accordance with Rule 216 of the TEXAS RULES OF CIVIL PROCEDURE,

 Defendant demands a trial by jury and tenders the applicable jury fee with its

 Answer.
 SLAINEIDEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER TO                 PAGE   ll
 PLAINTIFF'S ORIGINAL PETITION, DEMAND FOR A JURY TRIAL AND REQUESTS FOR DISCLOSURE
 Doc# 7503895158000.00597
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                          Page 23 of 38 PageID 35



                                           III.
                                REQUESTS FOR DISCLOSURE

        3.       Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant,

FAMILY DOLLAR STORES OF TEXAS, LLC, requests that Plaintiff disclose, within 30

days of service of this request, the information and materials described in Rule 194.2

(a) through (1).

                                                       IV.
                                       PRAYER FOR RELIEF

        4.       Defendant, FAMILY DOLLAR STORES OF TEXAS, LLC, prays that Plaintiff

take nothing by this lawsuit, that Defendant go hence with its costs without delay,

and for such other and further relief, both general and special, at law and in equity,

to which Defendant may show itself justly entitled.

                                                    Respectfully submitted,

                                                    MAYERLLP
                                                    750 North Saint Paul Street, Suite 700
                                                    Dallas, Texas 75201
                                                    214.379.6900 I Fax: 214.379.6939

                                                    By:      Is I Mavish Bana
                                                          Zach T. Mayer
                                                          State Bar No. 24013118
                                                          E-Mail: zmayer@mayerllp.com
                                                          Robin R. Gant
                                                          State Bar No. 24069754
                                                          E-Mail: rgant@mayerllp.com
                                                          Mavish Bana
                                                          State Bar No. 24096653
                                                          E-Mail: mbana@mayerllp.com

                                                    ATTORNEYS FOR DEFENDANT
                                                    FAMILY DOLLAR STORES OF TEXAS, LLC




SLAINEIDEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER TO                 PAGE   12
PLAINTIFF'S ORIGINAL PETITION, DEMAND FOR A JURY TRIAL AND REQUESTS FOR DISCLOSURE
Doc# 7503895158000.00597
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                          Page 24 of 38 PageID 36



                                   CERTIFICATE OF SERVICE

       This is to certify that on the 2Qth day of January 2021, a true and correct copy
of the foregoing has been forwarded to all counsel of record as follows:


                                                             DE-MAIL
                   Spencer P. Browne                          DHAND DELIVERY
                    Hussain Ismail                            DFACSIMILE
                REYES BROWNE REILLEY
                                                              DOVERNIGHT MAIL
            8222 Douglas Avenue, Suite 400
                                                              DREGULAR, FIRST CLASS MAIL
                 Dallas, Texas 75225
                                                              ~E-FILE AND SERVE

                  Counsel for Plaintiff                       DE-SERVICE ONLY
                                                              DCERTIFIED MAIL/RETURN RECEIPT REQUESTED




                                                    Is/ Mavish Bana
                                                        Mavish Bana




SLAINEIDEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER TO                 PAGE 13
PLAINTIFF'S ORIGINAL PETITION, DEMAND FOR A JURY TRIAL AND REQUESTS FOR DISCLOSURE
Doc# 7503895158000.00597
       Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21               Page 25 of 38 PageID 37
                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Patty Mikula on behalf of Mavish Bana
Bar No. 24096653
pmikula@mayerllp.com
Envelope 10: 49852250
Status as of 1/20/2021 11:54 AM CST

Associated Case Party: DAIZYCARTERSLAINE

Name                 BarN umber    Email                      TimestampSubmitted      Status

Spencer P.Browne                   spencer@reyeslaw .com      1/20/202110:31:10AM     SENT

Hussain Ismail                     Hussain@reyeslaw .com      1/20/202110:31:10AM     SENT

Marco Gonzalez                     marco@reyeslaw .com        1/20/202110:31:10AM     SENT

Christian Barragan                 cbarragan@reyeslaw .com    1/20/202110:31:10AM     SENT



Case Contacts

Name                     BarN umber    Email                                TimestampSubmitted      Status

SPENCER P.BROWNE                       ALLIANCETEXAS@HOTMAIL.COM            1/20/2021 10:31:10 AM   SENT

Kristy Fisher                          kfisher@mayerllp.com                 1/20/2021 10:31:10 AM   SENT



Associated Case Party: FAMILY DOLLAR STORES OF TEXAS, LLC

Name             BarN umber   Email                 TimestampSubmitted       Status

Mavish Bana                   mbana@mayerllp.com    1/20/2021 10:31:10 AM    SENT

Robin Gant                    rgant@mayerllp.com    1/20/2021 10:31:10 AM    SENT

Zach Mayer                    zmayer@mayerllp.com   1/20/2021 10:31:10 AM    SENT
Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21   Page 26 of 38 PageID 38




                EXHIBIT 5




                                                           Exhibit 5
                                                                                                                 FILED
                                                                                                    1/27/2021 11:47 AM
                                                                                                     JOHN F. WARREN
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                  Page 27 of 38 PageID 39            COUNTY CLERK
                                                                                                      DALLAS COUNTY



                                    CAUSE NO. CC-20-05664-D

 DAIZY CARTER SLAINE,                            §           IN THE COUNTY COURT
        Plaintiff,                               §
                                                 §
 vs.                                             §
                                                 §
 KROGER TEXAS, LP; KROGER TEXAS                  §           AT LAW NO. 4
 LP D/B/A KROGER #527; KROGER                    §
 TEXAS LP D/B/A HENPIL #527;                     §
 HENPIL, INC.; FAMILY DOLLAR                     §
 STORES OF TEXAS, LLC; and FIRST                 §
 NATIONAL BANK, INC.,                            §
        Defendants.                              §           DALLAS COUNTY, TEXAS

         KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS

       COMES NOW, Defendant Kroger Texas L.P., erroneously named “Kroger Texas, LP; Kroger

Texas, LP d/b/a Kroger #527; Kroger Texas, LP d/b/a Henpil #527; and Henpil, Inc.,” (“Kroger”) in

the above-entitled and numbered cause and files its Original Answer, Verified Denial, and Special

Exceptions and, in support thereof, would respectfully show the Court as follows:

                                               I.
                                        VERIFIED DENIAL

       By way of verified denial under Texas Rules of Civil Procedure 93, Kroger denies that

Plaintiff is entitled to recover from “Kroger Texas, LP; Kroger Texas, LP d/b/a Kroger #527; Kroger

Texas, LP d/b/a Henpil #527; and Henpil, Inc.,” in the capacities in which these entities have been

sued. Kroger denies that “Kroger Texas, LP; Kroger Texas, LP d/b/a Kroger #527; Kroger Texas, LP

d/b/a Henpil #527; and Henpil, Inc.,” owned or operated the premises at issue at any relevant

time. Consequently, Plaintiff has no right or potential right of recovery against “Kroger Texas, LP;

Kroger Texas, LP d/b/a Kroger #527; Kroger Texas, LP d/b/a Henpil #527; and Henpil, Inc.,”




KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                         Page 1 of 6
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                  Page 28 of 38 PageID 40



because the proper party has not been sued. See, e.g., Ray Malooly Trust v. Juhl, 186 S.W.3d 568,

571 (Tex. 2006).

                                              II.
                                        GENERAL DENIAL

       Kroger denies each and every, all and singular, the material allegation contained in

Plaintiff’s Original Petition, demands strict proof thereof is home later hello friend, and, to the

extent that such matters are questions of fact, says Plaintiff should prove such facts by a

preponderance of the evidence to a jury, if she can so do.

                                               III.
                                            DEFENSES

      1.       Kroger had neither actual nor constructive knowledge of the condition about

which Plaintiff complains, and further asserts that, in any event, the alleged hazard was not

“unreasonably dangerous.”

      2.       Plaintiff’s damages or injuries, if any, were caused by the acts of third persons not

under the control of Kroger. Such acts or omissions of said third persons were the sole and/or a

producing and/or a proximate and/or an intervening and/or a supervening cause of Plaintiff’s

damages or injuries, if any.

      3.       The alleged premises condition of which Plaintiff complains was already

appreciated by Plaintiff, was open and obvious, was not concealed, and/or was a known risk and,

therefore, Kroger denies that it owed any duty to warn Plaintiff of the alleged premises condition

or protect Plaintiff from same. Austin v. Kroger Texas L.P., 465 S.W.3d 193, 203 (Tex. 2015).

      4.       Plaintiff failed to use that degree of care and caution that would have been used

by a reasonable person under the same or similar circumstances, thereby producing or



KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                         Page 2 of 6
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                  Page 29 of 38 PageID 41



proximately causing or contributing to cause Plaintiff’s injuries and damages, if any. Such acts or

omissions of Plaintiff were the sole and/or a producing and/or a proximate and/or a supervening

and/or an intervening cause of Plaintiff’s damages or injuries, if any.

      5.       In the alternative, the accident complained of was an unavoidable accident, as

that term is defined under Texas law.

      6.       Kroger respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

      7.       In the unlikely event an adverse judgment is rendered against Kroger in this

matter, Kroger respectfully prays for contribution, indemnity and/or all available credits as

provided for in the Texas Civil Practice and Remedies Code and under Texas law.

      8.       The damages about which Plaintiff complains, if any, were the result of prior or

pre-existing or subsequent injuries, accidents or conditions, and said prior or pre-existing or

subsequent injuries, accidents or conditions were the sole and/or a contributing cause of

Plaintiff’s damages alleged against Defendant.

      9.       Plaintiff may have breached her duty to mitigate damages by failing to exercise

reasonable care and diligence to avoid loss and minimize the consequences of damages.

      10.      Plaintiff is malingering and/or exaggerating the nature and severity of her injuries

in order to continue treatment, and accordingly, Kroger contends said treatment is not medically

necessary or reasonable.




KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                        Page 3 of 6
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                    Page 30 of 38 PageID 42



      11.       Any claims for medical or health care expenses incurred are limited to the amount

actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil Practice and Remedies

Code §41.0105.

      12.       Pursuant to Texas Civil Practice & Remedies Code § 18.091, to the extent that

Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of earning capacity and/or loss

of contributions of pecuniary value, evidence of such alleged losses must be presented by Plaintiff

in the form of a net loss after reduction for income tax payments, or unpaid tax liability to any

federal income tax law.

                                                IV.
                                        SPECIAL EXCEPTIONS

       Further answering herein, pursuant to Rule 91 of the Texas Rules of Civil Procedure,

Kroger objects and specially excepts to Paragraph 21 of Plaintiff’s Original Petition, which

improperly and prematurely asks the Court to take judicial notice of certain unspecified

documents. Specifically, Paragraph 21 states that,

            Notice is hereby given to the Defendants that Plaintiff intends to use the U.S.
            Life Tables as published by the Department of Health and Human Services –
            National Vital Statistics Report in the trial of this matter. Plaintiff requests that
            this Honorable Court take judicial notice of those rules, regulations, and
            statutes of the United States and the State of Texas, pursuant to Texas Rule of
            Evidence 201 and 1005.

       However, Rule 201 provides that a party requesting that the Court take judicial notice of

a given fact or law must supply the Court with copies of the information that supports its request

for judicial notice. Plaintiff has not done so here. In addition, the responding party must be given

an opportunity to be heard on the propriety of taking judicial notice and the nature of the fact or

law to be noticed. See TEX. R. CIV. P. 201 (c) and (e). Plaintiff’s overly broad request is unreasonable




KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                             Page 4 of 6
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                   Page 31 of 38 PageID 43



at this early stage of litigation and fails to provide the information necessary for Kroger to prepare

a meaningful response to Plaintiff’s request, on which Kroger is entitled to be heard. Therefore,

Kroger requests that the Court strike Paragraph 21 of Plaintiff’s Original Petition in its entirety.

       Kroger also objects and specially excepts to Paragraph 22 of Plaintiff’s Original Petition,

which improperly attempts to invoke Rule 193.7 of the Texas Rules of Civil Procedure. Specifically,

such paragraph states that “Pursuant to Rule 193.7, notice is hereby given of the intention to use

any of the documents exchanged and/or produced between any party during the trial of this

case.” However, Rule 193.7 requires that the party invoking Rule 193.7 provide “actual notice

that the document will be used” to the producing party.1 Furthermore, “the ten-day period

allowed for objection to authenticity . . . does not run from the production of the material or

information but from the party’s actual awareness that the document will be used.”2

Accordingly, it is clear that Rule 193.7 requires more than a mere blanket statement that all

documents produced in discovery will be authenticated against the producing party. Such a

blanket statement not only fails to satisfy the requirements of Rule 193.7, but it also places an

unreasonable burden upon Kroger to review all documents it produces and prophylactically

render objections regarding the authenticity of said documents. Therefore, Kroger request that

the Court strike Paragraph 22 of Plaintiff’s Original Petition in its entirety.




   1
       TEX. R. CIV. P. 193.7 (2020) (emphasis added).
   2
       Id., cmt. 7 (emphasis added).



KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                           Page 5 of 6
  Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                      Page 32 of 38 PageID 44



                                             V.
                                  COURT REPORTER REQUESTED

         Kroger respectfully demands a court reporter be present at all proceedings before the

Court.

                                                 VI.
                                               PRAYER

         WHEREFORE, PREMISES CONSIDERED, Kroger Texas L.P., erroneously named “Kroger

Texas, LP; Kroger Texas, LP d/b/a Kroger #527; Kroger Texas, LP d/b/a Henpil #527; and Henpil,

Inc.,” respectfully prays that Plaintiff take nothing by this cause of action; that the Court order

Plaintiff to re-plead and cure the pleading deficiencies in her Original Petition or strike paragraphs

21 and 22 of Plaintiff’s Original Petition; and that Kroger be permitted to recover the costs

expended on its behalf. Kroger also prays for all other and further relief, both general and special,

at law and in equity, to which it shows itself to be justly entitled.

                                               Respectfully submitted,
                                               /s/ B. Kyle Briscoe
                                               B. Kyle Briscoe
                                               State Bar No. 24069421
                                               kbriscoe@peavlerbriscoe.com
                                               Michael W. Stumbaugh
                                               State Bar No. 24041987
                                               mstumbaugh@peavlerbriscoe.com
                                               Amber Henderson
                                               State Bar No. 24051231
                                               ahenderson@peavlerbriscoe.com
                                               PEAVLER|BRISCOE
                                               2215 Westgate Plaza
                                               Grapevine, Texas 76051
                                               214-999-0550 (telephone)
                                               214-999-0551 (fax)
                                               ATTORNEYS FOR DEFENDANT




KROGER’S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                           Page 6 of 6
              Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                      Page 33 of 38 PageID 45


                      STATE OF TEXAS                   §
                                                       §
                      COUNTY OF TARRANT                §

                  Before me, the undersigned authority, did personally appear Amber Henderson, who,
          upon her oath, deposes and says that she is one of the attorneys of record for Defendant, that
          she has never been convicted of a disqualifying crime, and that she is over the age of 18 and
          competent to make this verification. Accordingly, Amber Henderson verifies that the facts alleged
          in paragraph I. Verified Denial of the foregoing pleading are within her personal knowledge and
          are true and correct.




                                                                      Amber Henderson



                              Subscribed and sworn to before me on this 27th day of January 2021.




   ,,''·'~~~:J,,,.               MARIA LOHSE                      NOTARY PUBLIC in and for the State of Texas
.:,; ,..,.. ~ ••• ~.... ,..         I' s    f   T
.:i:"::A.:·~~Notary Pub 1c, tate o .exas
;;,:•• J'Iii:}~E Comm. Expires 02-06-2024
~~~·~~;~~                     Notary 10 132346674




                                                           CERTIFICATE OF SERVICE


                 I hereby certify that a true and correct copy of the foregoing document has been
          forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
          Procedure on January 27, 2021.
                                                                  /s/ Amber Henderson
                                                                  Amber Henderson




          KROGER'S ORIGINAL ANSWER, VERIFIED DENIAL, AND SPECIAL EXCEPTIONS                               Page 7 of7
       Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21               Page 34 of 38 PageID 46
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Bryan Briscoe on behalf of Bryan Briscoe
Bar No. 24069421
kbriscoe@peavlerbriscoe.com
Envelope ID: 50081421
Status as of 1/27/2021 11:52 AM CST

Case Contacts

Name                    BarNumber     Email                                TimestampSubmitted      Status

Kyle Briscoe                          kbriscoe@peavlerbriscoe.com          1/27/2021 11:47:53 AM   SENT

Mark Forester                         MForester@PeavlerBriscoe.com         1/27/2021 11:47:53 AM   SENT

Liz Contreras                         econtreras@peavlerbriscoe.com        1/27/2021 11:47:53 AM   SENT

Amber Henderson                       ahenderson@peavlerbriscoe.com        1/27/2021 11:47:53 AM   SENT

Kristy Fisher                         kfisher@mayerllp.com                 1/27/2021 11:47:53 AM   SENT

SPENCER P.BROWNE                      ALLIANCETEXAS@HOTMAIL.COM 1/27/2021 11:47:53 AM              SENT



Associated Case Party: FAMILY DOLLAR STORES OF TEXAS, LLC

Name             BarNumber   Email                 TimestampSubmitted       Status

Zach Mayer                   zmayer@mayerllp.com 1/27/2021 11:47:53 AM      SENT

Mavish Bana                  mbana@mayerllp.com    1/27/2021 11:47:53 AM    SENT

Robin Gant                   rgant@mayerllp.com    1/27/2021 11:47:53 AM    SENT



Associated Case Party: DAIZYCARTERSLAINE

Name                 BarNumber   Email                       TimestampSubmitted      Status

Marco Gonzalez                   marco@reyeslaw.com          1/27/2021 11:47:53 AM   SENT

Christian Barragan               cbarragan@reyeslaw.com 1/27/2021 11:47:53 AM        SENT

Hussain Ismail                   Hussain@reyeslaw.com        1/27/2021 11:47:53 AM   SENT

Spencer P.Browne                 spencer@reyeslaw.com        1/27/2021 11:47:53 AM   SENT
Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21   Page 35 of 38 PageID 47




                EXHIBIT 6




                                                                  Exhibit 6
                                                                                                                     FILED
                                                                                                         1/27/2021 2:31 PM
                                                                                                         JOHN F. WARREN
   Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                    Page 36 of 38 PageID 48             COUNTY CLERK
                                                                                                          DALLAS COUNTY



                                             CAUSE NO. CC-20-05664-D

DAIZY CARTER SLAINE                                    §     IN THE COUNTY COURT
                                                       §
                                                       §
VS.                                                    §     AT LAW NO. 4
                                                       §
KROGER TEXAS, LP; KROGER                               §
TEXAS, LP DBA: KROGER #527;                            §
KROGER TEXAS LP DBA HENPIL                             §
#527; HENPIL, INC.; FAMILY                             §
DOLLAR STORES OF TEXAS, LLC;                           §
AND FIRST NATIONAL BANK, INC.                          §     DALLAS COUNTY, TEXAS

                         PLAINTIFF'S NOTICE OF FILING OF AFFIDAVITS

TO:        Kroger Texas, LP, by and through its attorneys of record, B. Kyle Briscoe, Michael W.
           Amber Henderson, Peavler | Briscoe, 2215 Westgate Plaza, Grapevine, Texas 76051.

       You are hereby notified that Plaintiff has filed the following affidavits in the above-entitled
and numbered cause, copies of which are hereby furnished to you with the accompanying records
regarding same.

      1.        Affidavit of Reasonableness and Necessity of Charges Under Section 18.001, Civil
                Practices and Remedies Code, V.T.C.A. from Accident & Injury Chiropractic
                regarding Daizy Carter Slaine;
      2.        Business Records Affidavit Under Rule 902 from Accident & Injury Chiropractic
                regarding Daizy Carter Slaine;
      3.        Affidavit of Reasonableness and Necessity of Charges Under Section 18.001, Civil
                Practices and Remedies Code, V.T.C.A. from DFW Prescriptions, Inc. regarding
                Daizy Carter Slaine;
      4.        Affidavit of Reasonableness and Necessity of Charges Under Section 18.001, Civil
                Practices and Remedies Code, V.T.C.A. from Lone Star Radiology regarding Daizy
                Carter Slaine;
      5.        Business Records Affidavit Under Rule 902 from Lone Star Radiology regarding
                Daizy Carter Slaine;
      6.        Affidavit of Reasonableness and Necessity of Charges Under Section 18.001, Civil
                Practices and Remedies Code, V.T.C.A. from Pioneer Orthopedics, P.L.L.C. regarding
                Daizy Carter Slaine;



Plaintiff's Notice of Filing of Affidavits - Page 1
   Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21                     Page 37 of 38 PageID 49



      7.        Business Records Affidavit Under Rule 902 from Pioneer Orthopedics, P.L.L.C.
                regarding Daizy Carter Slaine;
      8.        Affidavit of Reasonableness and Necessity of Charges Under Section 18.001, Civil
                Practices and Remedies Code, V.T.C.A. from White Rock Open Air MRI regarding
                Daizy Carter Slaine; and
      9.        Business Records Affidavit Under Rule 902 from White Rock Open Air MRI
                regarding Daizy Carter Slaine.

           These records will be offered in evidence at the trial of this cause.

                                                          Respectfully submitted,

                                                          REYES   *   BROWNE * REILLEY


                                                           /s/ Spencer P. Browne
                                                          Spencer P. Browne
                                                          State Bar No. 24040589
                                                          Hussain Ismail
                                                          State Bar No. 24087782
                                                          8222 Douglas Avenue, Suite 400
                                                          Dallas, TX 75225
                                                          (214) 526-7900
                                                          (214) 526-7910 (FAX)
                                                          spencer@reyeslaw.com
                                                          hussain@reyeslaw.com

                                                          ATTORNEYS FOR PLAINTIFF


                                           CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document has been served on all
counsel of record in accordance with the Texas Rules of Civil Procedure on this 27th day of January,
2021.

                                                          /s/ Spencer P. Browne
                                                          Spencer P. Browne




Plaintiff's Notice of Filing of Affidavits - Page 2
       Case 3:21-cv-01063-N Document 1-2 Filed 05/11/21             Page 38 of 38 PageID 50
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